                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

In the Matter of:                                    )
                                                     )         Case No. 19-81991
In The Wind, LLC                                     )
 EIN: xx-xxx-5230                                    )         Chapter 11
                                                     )
Debtor                                               )

       DEBTOR’S MOTION PURSUANT TO 11 U.S.C. §§ 105 AND 366 FOR ORDER
       (I) APPROVING DEBTOR’S ADEQUATE ASSURANCE OF POST-PETITION
      PAYMENTS TO UTILITY COMPANIES AND DEEMING UTILITY COMPANIES
     ADEQUATELY ASSURED, (II) PROHIBITING THE UTILITY COMPANIES FROM
             ALTERING, REFUSING, OR DISCONNECTING SERVICES, AND
        (III) ESTABLISHING PROCEDURES FOR RESOLVING REQUESTS FOR
                    ADDITIONAL ASSURANCE, NUNC PRO TUNC

       COMES NOW, In the Wind, LLC, pursuant to §§ 105 and 366 of Title 11 of the United States
Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy Code”), moves this Court (the “Motion”) to enter an
order (i) approving Debtor’s adequate assurance of post-petition payments to the Utility Companies
(as defined herein) and deeming the Utility Companies adequately assured; (ii) prohibiting the Utility
Companies from altering, refusing, or disconnecting service on account of pre-petition invoices; and
(iii) establishing procedures for resolving subsequent requests, if any, for additional adequate
assurance of payment by the Utility Companies, nunc pro tunc, and states as follows:
                                   JURISDICTION AND VENUE
1.     From July 1, 2019 (the “Petition Date”), Debtor filed voluntary petitions for relief under
chapter 11 of the Bankruptcy Code with the Clerk of this Court. Debtor continue to operate businesses
and manage assets as debtor-in-possession pursuant to §§ 1107(a) and 1108.
2.     This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. This is a
core proceeding pursuant to 28 U.S.C. § 157(b). Venue of Debtor’s chapter 11 cases and this Motion in
this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief
requested herein are §§ 105(a) and 366 of the Bankruptcy Code.
                                        RELIEF REQUESTED
3.     By this Motion, Debtor respectfully request the entry of an order, pursuant to § 366 of the
Bankruptcy Code: (i) approving Debtor’s adequate assurance of post-petition payments to the Utility
Companies and deeming the Utility Companies adequately assured; (ii) prohibiting the Utility
Companies from altering, refusing, or disconnecting service on account of pre-petition invoices, and
(iii) establishing procedures for resolving subsequent requests, if any, for additional adequate
assurance of payment by the Utility Companies.

     Case 19-81991-CRJ11       Doc 52     Filed 08/16/19 Entered 08/16/19 16:27:29       Desc Main
                                        Document      Page 1 of 11
                                            BASIS FOR RELIEF
A.     Importance Of Uninterrupted Utility Services.
4.     Debtor leases a lot and shop in order to park and store its trucks and conduct maintenance on
its trucks. In connection with the operation of its business and the management of its assets, Debtor
obtain telephone, electricity, gas, water, sewer, waste management, and other similar services
(collectively, the “Utility Services”) from different companies (the “Utility Companies”). Attached
hereto as Exhibit “A” is a list of all, or substantially all, of the Utility Companies providing services to
Debtor as of the Petition Date.
5.     Should one or more of the Utility Companies refuse or discontinue service even for a brief
period, operations of Debtor would be severely disrupted. Such an interruption would damage
customer relationships, revenue, and profits and would ultimately adversely affect Debtor’s efforts to
reorganize. Moreover, such an interruption would result in a diminution in value of Debtor’s assets
and cause irreparable harm to Debtor’s estates. Maintaining uninterrupted Utility Services is essential
to Debtor’s ability to maintain its business operations and to preserve the value of its assets.
6.     Pursuant to § 366 of the Bankruptcy Code, in the thirty-day period beginning on the petition
date in chapter 11 cases, a utility may not alter, refuse, or discontinue service to, or discriminate
against, a debtor solely on the basis of the commencement of the case or the failure of debtor to pay a
pre-petition debt. Utilities arguably may discontinue service, however, if debtor does not, within
twenty days following the petition date, provide adequate assurance of its future performance of post-
petition obligations to them. Section 366 of the Bankruptcy Code provides, in pertinent part:
       (a)     Except as provided in subsections (b) and (c) of this section, a utility may not
       alter, refuse, or discontinue service to, or discriminate against, the trustee or debtor
       solely on the basis of the commencement of a case under this title or that a debt owed by
       debtor to such utility for service rendered before the order for relief was not paid when
       due.

       (b)   Such utility may alter, refuse, or discontinue service if neither the trustee nor
       debtor, within 20 days after the date of the order for relief, furnishes adequate
       assurance of payment, in the form of a deposit or other security, for service after such
       date.

11 U.S.C. § 366(a)-(b). Section 366(c)(2) of the Bankruptcy Code further provides, however, that:
                (2)    Subject to paragraphs (3) and (4), with respect to a case filed under
        chapter 11, a utility referred to in subsection (a) may alter, refuse, or discontinue utility
        service, if during the 30-day period beginning on the date of the filing of the petition, the
        utility does not receive from debtor or the trustee adequate assurance of payment for
        utility service that is satisfactory to the utility.
Id. at § 366(c).



     Case 19-81991-CRJ11          Doc 52     Filed 08/16/19 Entered 08/16/19 16:27:29        Desc Main
                                           Document      Page 2 of 11
7.     The policy underlying § 366 of the Bankruptcy Code is to protect Debtor from utility service
cutoffs upon the filing of a bankruptcy case, while at the same time providing utility companies with
adequate assurance that debtor will pay for post-petition services. See H.R. Rep. No. 95-595, at 350
(1978), reprinted in 1978 U.S.C.C.A.N. 5963, 6306.
8. As set forth herein, this policy is furthered by the relief requested through the Motion.
B.     The Proposed Adequate Assurance.
9.     Previously, Debtor has requested authorization to use cash collateral which, if approved, will
provide Debtor with sufficient availability of funds with which to pay all post-petition utility charges.
Debtor submits that the revenue generated from normal business operations is sufficient adequate
assurance of timely payment of future utility services.
10.    Debtor’s aggregate monthly expenditure for all of the Utility Services provided by all of the
Utility Companies, is approximately $1,200.00 to $1,800.00.
11.    In the event Debtor fails to timely pay for post-petition Utility Services, the affected Utility
Company would be permitted to submit a payment request to Debtor in the amount of the unpaid
charges for the post-petition services. The Payment Request requires only that the Utility Company:
(i) certify that Debtor defaulted in the payment of post-petition Utilities Services; (ii) state the amount
on account of such Utility Services that are due, outstanding, and unpaid; (iii) certify that the amount
is not and does not relate to an additional adequate assurance request; and (iv) provide wire transfer
or other payment instructions. The Payment Request shall be sent to Debtor’s counsel, by electronic
mail or by fax, with a copy sent by U.S. Mail, as set forth in therein.
12.    Upon receipt of the Payment Request, Debtor shall have five business (5) days within which to
either resolve the Payment Request with the Utility Company, to cure the aforementioned payment
default, or seek immediate redress from the Court. Pending resolution and/or disposition of any
disputed matter by the Court, the Utility Company may not alter, refuse, or discontinue services to
Debtor. Any payments made to the Utility Companies with respect to such Payment Request shall be
without prejudice to any and all rights, claims and/or defenses of Debtor, including but not limited to
Debtor’s right to contest such Payment Request in this Court, or any court with jurisdiction.
C.     The Additional Assurance Request Procedures.
13.    Debtor anticipates that certain of the Utility Companies may not find the Utility Bonds
“satisfactory” and may request additional adequate assurance of payment pursuant to § 366(c)(2) of
the Bankruptcy Code. Accordingly, Debtor proposes the following procedures to address requests for
additional adequate assurances (the “Additional Assurance Request Procedures”):
       (a)    In the event that a Utility Company maintains that the Utility Bonds are
       unsatisfactory as adequate assurance of payment, the Utility Company must serve a
       request (a “Request”) for adequate assurance in addition to or in lieu of its rights in the


      Case 19-81991-CRJ11       Doc 52     Filed 08/16/19 Entered 08/16/19 16:27:29        Desc Main
                                         Document      Page 3 of 11
       Utility Bonds so that it is received by the following person within thirty (30) days of the
       Petition Date (the “Request Deadline”): (i) Richard L. Collins, Esq., P O Box 669,
       Cullman, AL 35055, email: richard@rlcollins.com; and (ii) Counsel to Debtor’s post-
       petition lender;
       (b)     The Request must: (i) be made in writing, (ii) set forth the location for which
       utility services are provided, (iii) specify the amount and nature of assurance of payment
       which would be satisfactory to the Utility Company, (iv) set forth a list of any deposits or
       other security being held by the Utility Company, and (v) set forth a fax and electronic
       mail address to which Debtor’s counsel may respond to the Request;
       (c)     Within the greater of twenty (20) days from the receipt of a Request or thirty
       days (30) days from the Petition Date, Debtor will either (i) advise the Utility Company
       in writing that the Request is acceptable, (ii) consensually resolve the Request with the
       Utility Company, or (iii) contest the Utility Company’s request pursuant to § 366(c)(3)
       of the Bankruptcy Code and request that the Court set a hearing (the “Determination
       Hearing”) to be held on same.
       (d)     If Debtor agrees that the Request is acceptable, or Debtor and the Utility
       Company consensually resolves the Request before the Determination Hearing, Debtor
       may remove the Utility Company from Exhibit “A”;
       (e)     The Determination Hearing will be an evidentiary hearing at which the Court will
       determine whether the Utility Deposit Account and the additional adequate assurance of
       payment requested by the Utility Company should be modified pursuant to §
       366(c)(3)(A) of the Bankruptcy Code;
       (f)     Debtor and the Utility Company shall negotiate in good faith regarding the
       assurance of payment to be furnished to such Utility Company and may enter into
       agreements for adequate assurance without further order of the Court;
       (g)     The Utility Company that made the Request that is the subject of a Determination
       Hearing may not alter, refuse, or discontinue services to Debtor until the Request is
       heard and resolved by the Court;
       (h)     Pending further order of the Court, regardless of whether a Utility Company files
       a Request as set forth herein, Debtor shall pay on a timely basis, in accordance with pre-
       petition practices, all undisputed invoices with respect to post-petition Utility Services
       rendered by any Utility Company within the meaning of § 366 of the Bankruptcy Code;
       and
       (i)     Any Utility Company that does not serve a Request by the Request Deadline shall
       be deemed to have received adequate assurance of payment that is satisfactory to such
       Utility Company within the meaning of § 366(c)(2) of the Bankruptcy Code, and shall
       further be deemed to have waived any right to seek additional adequate assurance
       during the course of Debtor’s chapter 11 cases.

14.    To the extent that Debtor subsequently identifies additional providers of Utility Services or
determines that an entity was improperly included as a Utility Company, Debtor seeks authority, in its
sole discretion and without further order of Court, to amend Exhibit “A” to add or delete any Utility
Company. Debtor proposes to have the terms of the proposed order attached hereto apply to any such
subsequently identified Utility Company. Moreover, for those Utility Companies that are subsequently

      Case 19-81991-CRJ11      Doc 52     Filed 08/16/19 Entered 08/16/19 16:27:29       Desc Main
                                        Document      Page 4 of 11
added to Exhibit “A”, Debtor will serve a copy of this Motion and the order entered with respect to the
Motion on such Utility Company, along with an amended Exhibit “A”. Such subsequently added
entities would then have twenty (20) days from service of this Order to make a Request. For any entity
that is removed from Exhibit “A”, Debtor shall provide notice of such entity’s removal and such entity
will have an opportunity to object.
15.    To the extent any entity that is not listed on Exhibit “A” believes it to be a utility within the
meaning of § 366 of the Bankruptcy Code, that entity must make a written request to be added to
Exhibit “A” within twenty (20) days of the date of the Court’s order granting the relief requested
herein. Failure to make a written request within the twenty-day time period bars such entity from
terminating the services it provides to Debtor, absent further order of the Court.
                                      APPLICABLE AUTHORITY
16.    Under § 366 of the Bankruptcy Code, the Court may determine the standards for adequate
assurance of future payments for utility companies. Bankruptcy courts have the exclusive
responsibility for determining what constitutes adequate assurance for payment of post-petition
utility charges and are not bound by local or state regulations. See generally, Matter of RobMac, Inc.,
8 B.R. 1 (Bankr. N.D. Ga. 1979) (adequacy of assurance is not determined by state public service
commission or similar rule-making entity); In re Stagecoach Enterprises, Inc., 1 B.R. 732 (Bankr.
M.D. Fla. 1979) (same). See also In re Central Foundry Co., 62 B.R. 52, 55 (Bankr. N.D. Ala. 1985)
(rejecting gas company’s argument for demand charges based on state utility laws); In the Matter of
Fountainebleau Hotel Corp., 508 F.2d 1056, 1059 (5th Cir. 1975) (finding that a telephone company’s
tariffs, giving company right to demand deposit, are no different from any state law and, therefore,
subordinated to federal bankruptcy law). While the utility company may initially set an amount of
deposit, ultimate determinations of adequate assurance under § 366 are fully within the Court’s
discretion. See generally, e.g., Stagecoach, 1 B.R. 732; RobMac, 8 B.R. 1; In re Tarrant, 190 B.R. 704
(Bankr. S.D. Ga. 1995); and In re Marion Steel Co., 35 B.R. 188, 195 (Bankr. D. Ohio 1983).
17.    “Adequate assurance” under § 366 is not synonymous with “adequate protection.” In
determining adequate assurance, the Court must determine only that the Utility Companies are not
subject to an unreasonable risk of nonpayment for post-petition services. In Adelphia Business
Solutions, Inc., 280 B.R. 63, 80 (Bankr. S.D.N.Y. 2002), the Bankruptcy Court for the Southern
District of New York stated that “in determining adequate assurance, a bankruptcy court is not
required to give a utility company the equivalent guaranty of payment, but must only determine that
the utility is not subject to an unreasonable risk of nonpayment for post-petition services.” See also In
re Caldor, Inc., 199 B.R. 1 (Bankr. S.D.N.Y. 1996); In re Santa Clara Circuits West, Inc., 27 B.R. 680,
685 (Bankr. D. Utah 1982); In re George C. Frye Co., 7 B.R. 856, 858 (Bankr. D. Me. 1980). Whether a
utility is subject to an unreasonable risk of nonpayment must be determined from the facts and

      Case 19-81991-CRJ11       Doc 52     Filed 08/16/19 Entered 08/16/19 16:27:29         Desc Main
                                         Document      Page 5 of 11
circumstances of each case. See Adelphia Bus. Solutions, Inc., 280 B.R. 63, 80; In re Keydata Corp.,
12. B.R. 156 (B.A.P. 1st Cir. 1981).
18.    In this case, the Utility Companies do not face an unreasonable risk of nonpayment by Debtor.
As demonstrated below, the Utility Companies are adequately assured of payment by the
establishment of the Utility Deposit Account, which is one of the acceptable forms of adequate
protection set forth in §§ 366(b) and 366(c)(1) of the Bankruptcy Code. Additionally, the Utility
Companies may still request modification of such adequate assurance upon notice and a hearing and
may further exercise their rights under § 366(c)(2) of the Bankruptcy Code. Finally, Debtor submit
that it will be able to continue paying for all post-petition utility services from the proceeds of its
operations and funds provided by Debtor’s proposed debtor-in-possession credit facility.
A.     Utility Companies Are Adequately Assured Of Payment.
19.    Pursuant to § 366(b) of the Bankruptcy Code, a debtor must furnish what it considers to be
adequate assurance of payment within twenty (20) days after the entry of the order for relief in the
form of a deposit or other security for post-petition service. 11 U.S.C. § 366.
20.    Debtor submit that it will be able to pay for future utility services in the ordinary course of its
business operations.
B.     The Additional Assurance Procedures Balance The Interests Of The Utility
       Companies with The Interests Of Debtor.

21.    Pursuant to § 366(c)(2) of the Bankruptcy Code, a utility is permitted to alter, refuse, or
discontinue utility service, if the utility does not receive “during the 30-day period beginning on the
date of the filing of the petition . . . adequate assurance of payment for utility service that is
satisfactory to the utility.” 11 U.S.C. § 366.
22.    Conceivably, one of the Utility Companies could make a last-minute demand upon Debtor
pursuant to section 366(c) and threaten termination of services. To avoid such a result, Debtor have
proposed the Additional Assurance Request Procedures which balance the interests of the Utility
Companies with the interests of Debtor by preserving the protections that the Utility Companies enjoy
under the Bankruptcy Code while affording Debtor an opportunity to provide and negotiate adequate
protection without facing the threat of imminent termination of Utility Services.
23.    Specifically, Debtor proposes to require the Utility Companies to provide notice of their
demands for assurance within thirty (30) days from the Petition Date. Within the greater of twenty
(20) days of Debtor’s receipt of a Request or thirty (30) days from the Petition Date, Debtor will
advise the Utility Company whether it finds the request acceptable or whether Debtor intend to
contest the request pursuant to § 366(c)(3) of the Bankruptcy Code. If the request for additional
assurances cannot be resolved within this time period, Debtor will be required to request that a
hearing be held on the same.

      Case 19-81991-CRJ11        Doc 52     Filed 08/16/19 Entered 08/16/19 16:27:29         Desc Main
                                          Document      Page 6 of 11
24.       Under the foregoing procedures, Debtor will be afforded the opportunity to seek an order from
the Court modifying an adequate assurance request from a Utility Company without having to first
satisfy the demands of the Utility Company and without facing the prospect of termination of Utility
Services prior to a hearing on the Request.
25.       Without the relief requested herein, Debtor would have no choice but to pay whatever amounts
the Utility Companies may demand in the form of deposits or other security, no matter how
unreasonable, or face the termination of Utility Services and the detrimental consequences that would
follow.
                                       RESERVATION OF RIGHTS
26.       Although Debtor has attempted to list on Exhibit “A” attached hereto all entities providing
services that arguably may qualify as “utilities” under § 366 of the Bankruptcy Code, Debtor requests
that the relief sought herein shall apply to all providers of Utility Services and not be limited to the
entities listed on Exhibit “A”. Moreover, some of the entities listed on Exhibit “A” may provide
services to Debtor in a capacity other than as a utility. Non-utilities are not entitled to adequate
assurance of payment under § 366 of the Bankruptcy Code. Debtor reserve all rights, claims, and
defenses with respect to whether the entities listed on Exhibit “A” or any other entity that claims it is a
Utility Company are, in fact, “utilities” within the meaning of § 366 of the Bankruptcy Code.
27.       Debtor also reserves all rights, claims, and defenses under § 365 of the Bankruptcy Code.
Nothing in this Motion shall be deemed a request for approval to assume, or an expression of an
intent to assume, any lease or contract with any of the Utilities Companies.
                                    NOTICE AND PRIOR MOTIONS
28.       Notice of this Motion has been provided to the Office of the Bankruptcy Administrator for the
United States Bankruptcy Court for the Northern District of Alabama, Northern Division; the holders
of the 20 largest unsecured claims; the holders of all secured claims against Debtor; and all parties
that have filed a request for notices under Bankruptcy Rule 2002. Considering the nature of relief
requested in this Motion, Debtor believes no additional notice is necessary.
29.       No previous request for the relief sought herein has been made to this or any other court.
                                             NUNC PRO TUNC
30.       Debtor filed its petition for bankruptcy protection as an emergency petition to stop imminent
repossession of several of its trucks and trailers.
31.       Since the filing, there has been the occurrence of the 4th of July Holiday; the wife of the
Debtor’s managing/sole member, Michael Moore, who also maintains the books and records, has
suffered from heart issues which ultimately led to a heart surgical procedure, and the undersigned
counsel was out of his office for a week for vacation.



      Case 19-81991-CRJ11         Doc 52     Filed 08/16/19 Entered 08/16/19 16:27:29       Desc Main
                                           Document      Page 7 of 11
32.    The above issues have delayed the collection and review of the books and records needed to file
what would normally be “first day” motions.
33.    The payments to utilities have been made and the entry of an order based upon this motion
does not prejudice any utilities.
       WHEREFORE, PREMISES CONSIDERED, Debtor respectfully request that the Court enter an
order (a) approving Debtor’s adequate assurance of post-petition payments and deeming the Utility
Companies with adequate assurance of payment within the meaning of § 366 of the Bankruptcy Code;
(b) prohibiting the Utility Companies from altering, refusing, or discontinuing Utility Services on
account of unpaid prepetition invoices; (c) establishing the Additional Assurance Request Procedures
for resolving requests for additional adequate assurance; (d) providing that any Utility Company that
does not timely request additional adequate assurance in accordance with the Additional Assurance
Request Procedures shall be deemed to have adequate assurance under § 366 of the Bankruptcy Code;
(e) providing that, in the event that a Determination Motion is filed, any objecting Utility Company
shall be deemed to have adequate assurance of payment under § 366 without the need for payment of
additional deposits or other securities until an order of the Court is entered resolving such
Determination Motion; and (f) granting such other, further, or different relief as the Court deems just.


Respectfully submitted on August 16, 2019.

                                                        /s/Richard L. Collins
                                                        Richard L. Collins (ASB-8742-C66R)
                                                        Attorney for Debtor
                                                        P. O. Box 669
                                                        Cullman, AL 35056
                                                        (256) 739-1962




                                    CERTIFICATE OF SERVICE

       This is to certify that on the 16th day of August, 2019 a copy of this pleading was served by
placing a copy of the same in the U.S. Mail with postage prepaid and correctly addressed to the
following:

Richard Blythe
Bankruptcy Administrator
P. O. Box 3045
Decatur, AL 35602

20 Largest Unsecured Creditors


      Case 19-81991-CRJ11       Doc 52     Filed 08/16/19 Entered 08/16/19 16:27:29      Desc Main
                                         Document      Page 8 of 11
All parties requesting notice

                                                        /s/ Richard L. Collins
                                                        Richard L. Collins




     Case 19-81991-CRJ11        Doc 52     Filed 08/16/19 Entered 08/16/19 16:27:29   Desc Main
                                         Document      Page 9 of 11
                        LIST OF UTILITY PROVIDERS


           Provider                Type          City         State
           AT&T                    Phone         Atlanta      GA
           Cullman Electric Coop   Electricity   Cullman      AL
           VAW                     Water         Vinemont     AL
           Thompson Gas            Propane Gas   Good Hope    AL




Case 19-81991-CRJ11   Doc 52 Filed 08/16/19 Entered 08/16/19 16:27:29   Desc Main
                            Document    Page 10 of 11
Label Matrix for local noticing              EvaBank                                  In The Wind, LLC
1126-8                                       1710 Cherokee Ave Sw                     P O Box 103
Case 19-81991-CRJ11                          Cullman, AL 35055-5333                   Vinemont, AL 35179-0103
NORTHERN DISTRICT OF ALABAMA
Decatur
Fri Aug 16 16:14:25 CDT 2019
U. S. Bankruptcy Court                       **Eva Bank                               **First Community Bank
400 Well Street                              1710 Cherokee Avenue SW                  P O Box 249
P. O. Box 2775                               Cullman, AL 35055-5333                   Cullman, AL 35056-0249
Decatur, AL 35602-2775


**Lendini                                    **Robbie A. Walker                       **The McPherson Companies
884 Town Center Drive                        1300 Legion Drive                        5051 Cardinal St
Langhorne, PA 19047-1748                     Cullman, AL 35055-2410                   Trussville, AL 35173-1871



Assistant US Bankruptcy Administrator        Internal Revenue Service                 Michael Paul Moore
Northern District of Alabama                 P.O. Box 7346                            111 Co Rd 1199
P.O. Box 3045                                Philadelphia, PA 19101-7346              Cullman, AL 35057-6823
Decatur, AL 35602-3045


Richard Blythe                               SAMUEL DAVID KNIGHT                      Secretary of the Treasury
Bankruptcy Administrator                     BADHAM & BUCK, LLC                       1500 Pennsylvania Ave., NW
PO Box 3045                                  2001 PARK PLACE N, #500                  Washington, DC 20220-0001
Decatur, AL 35602-3045                       Birmingham, AL 35203-2746


U.S. Securities and Exchange Commission      United States Attorney                   United States Bankruptcy Administrator
Reg. Director, Branch of Reorganization      Northern District of Alabama             Northern District of Alabama
Atlanta Regional Office, Suite 900           1801 Fourth Avenue North                 1800 Fifth Avenue North
950 East Paces Ferry Road                    Birmingham, AL 35203-2101                Birmingham, AL 35203-2111
Atlanta, GA 30326-1180

Richard L Collins                            Richard M Blythe                         End of Label Matrix
Richard L. Collins - Attorney at Law         United States Bankruptcy Administrator   Mailable recipients      19
P O Box 669                                  PO Box 3045                              Bypassed recipients       0
Cullman, AL 35056-0669                       Decatur, AL 35602-3045                   Total                    19




             Case 19-81991-CRJ11          Doc 52 Filed 08/16/19 Entered 08/16/19 16:27:29             Desc Main
                                                Document    Page 11 of 11
